EXHIBIT 26
                                                          Page 1

 1
 2       UNITED STATES DISTRICT COURT
 3       SOUTHERN DISTRICT OF NEW YORK
 4       Civil Action No. 16-cv-5845 (AJN)
 5       ----------------------------------------x
 6       DORRELIEN FELIX and MARGALY FELIX,
 7       individually, and JONATHAN C. MOORE, as
 8       Administrator of the Estate of DAVID FELIX,
 9                                 Plaintiffs,
10
11                  - against -
12
13       THE CITY OF NEW YORK, a municipal entity;
14       HAROLD CARTER and VINCENTE MATIAS,
15       individually and in their official capacities
16       as New York City Police Detectives; the BRIDGE
17       INC., a domestic not-for-profit organization;
18       and JANE DOE (as of yet unidentified employee
19       of the Bridge)
20                                 Defendants.
21       ----------------------------------------x
22                                 August 8, 2019
23                                 11:36 a.m.
         (Continued.)
24
25

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                                                 Page 2                                                  Page 4
 1                                                         1
 2                                                         2             STIPULATIONS
 3   C O N T I N U E D:                                    3       IT IS HEREBY STIPULATED AND AGREED, by
 4                                                         4   and among counsel for the respective parties
 5         EXAMINATION BEFORE TRIAL of a Defendant,        5   hereto, that the filing, sealing and
 6   The City Of New York, By, THERESA TOBIN, pursuant     6   certification of the within deposition shall
 7   to Notice, held at the offices of BELDOCK LEVINE      7   be and the same are hereby waived;
 8   & HOFFMAN, LLP, 99 Park Avenue, New York, New         8      IT IS FURTHER STIPULATED AND AGREED that
 9   York 10016 before Mandy Fein, a Notary Public of      9   all objections, except as to form of the
10   the State of New York.                               10   question, shall be reversed to the time of the
11                                                        11   trial;
12                                                        12      IT IS FURTHER STIPULATED AND AGREED that
13                                                        13   the within deposition may be signed before any
14                                                        14   Notary Public with the same force and effect
15                                                        15   as if signed and sworn to before the Court.
16                                                        16             *    *     *
17                                                        17
18                                                        18
19                                                        19
20                                                        20
21                                                        21
22                                                        22
23                                                        23
24                                                        24
25                                                        25
                                                 Page 3                                                  Page 5
 1                                                         1                TOBIN
 2   APPEARANCES:                                          2   T H E R E S A T O B I N,
 3                                                         3   called as a witness, having been first duly
 4   BELDOCK LEVINE & HOFFMAN, LLP                         4   sworn, was examined and testified as follows:
 5   99 Park Avenue, 26th Floor                            5   EXAMINATION BY
 6   New York, New York 10016                              6   MR. MOORE:
 7     Attorney for Plaintiffs                             7     Q     Good morning, Chief Tobin.
 8                                                         8     A     Good morning.
 9   BY: JONATHAN C. MOORE, ESQ                            9     Q     My name is Jonathan Moore. We met
10     LUNA DROUBI, ESQ                                   10   right before. You are here today in the case
11                                                        11   of Felix verse the City of New York, and you
12                                                        12   are testifying on behalf of the New York City
13   NEW YORK CITY LAW DEPARTMENT                         13   Police Department concerning EDP.
14   100 Church Street, 4th Floor                         14         Do you understand that?
15   New York, New York 10007                             15     A Yes.
16     Attorney for Defendants                            16     Q     If for any reason you need to take a
17                                                        17   break, just let me know. If there is a
18   BY: JOSHUA J. LAX, ESQ                               18   question pending, I'd ask that you finish the
19                                                        19   answer before you take a break.
20                                                        20     A     Sure.
21   ALSO PRESENT                                         21     Q     But if you need to take a break, that
22       PETER J. CALLAGHAN                               22   is perfectly fine. The only other couple of
23       ROLAND WILEY                                     23   rules that we try to abide by in these
24                                                        24   depositions is that only one person should
25                                                        25   speak at a time, which we often don't do
                                                                                               2 (Pages 2 - 5)
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                                             Page 6                                                    Page 8
 1                TOBIN                                1             TOBIN
 2   but -- it is human nature. To the extent          2     A   Collaborative policing.
 3   possible, let me finish the question before       3     Q   Tell me what collaborative policing
 4   you answer.                                       4   is.
 5         Okay?                                       5     A    We work with other City agencies and
 6    A      Sure.                                     6   internally with the NYPD in collaborating on
 7    Q      I will try not to interrupt you and       7   different policies that the NYPD has in terms
 8   hopefully you will try not to interrupt me.       8   of victims, in terms of the community, in
 9    A      Sure.                                     9   terms of crime fighting.
10    Q      The other thing is, the court            10     Q    Who do you report to?
11   reporter is only takes down audible answers.     11     A    The police commissioner.
12   She can't take down nods of the head.            12     Q    So, you are in the police
13    A      Right.                                   13   commissioner's office?
14    Q      So, all of your answers have to be       14     A    No, down the hall.
15   audible.                                         15     Q    Is there a deputy commissioner or a
16         Do you understand that?                    16   commissioner for collaborative policing?
17    A Yes.                                          17     A    There was. It has been vacant since
18    Q      Most people then go uh-huh.              18   the end of January.
19         So, what is your full name for the         19     Q    Who was that?
20   record?                                          20     A    Suzanne Herman.
21    A      Theresa, T-H-E-R-E-S-A C. Tobin,         21     Q    She's no longer in the police
22   T-O-B-I-N.                                       22   department?
23    Q      What year were you born?                 23     A    That's correct.
24    A      1961.                                    24     Q    How long have you been the commanding
25         MR. MOORE: I am not asking for date        25   officer of collaborative policing?
                                             Page 7                                                    Page 9
 1              TOBIN                                  1               TOBIN
 2 of birth.                                           2    A     Since March of 2014.
 3 Q       1951?                                       3    Q     If you can just briefly, going
 4 A       '61.                                        4   backwards, from March '14 tell me what your
 5 Q       Sorry, I didn't mean to date you.           5   assignments were.
 6        Where are you currently employed?            6    A     They -- that would take a while.
 7 A       The New York City Police Department.        7    Q     You want to start from the beginning
 8 Q       What is your rank?                          8   or --
 9 A       Assistant chief.                            9    A     I was on patrol. I have worked in
10 Q       That is two stars, right?                  10   various units, investigative patrol.
11 A       Correct.                                   11    Q     Let me do it this way.
12 Q       What is your date of appointment to        12         How long were you a patrol officer, how
13 the police department?                             13   many years?
14 A       July 25th, 1983.                           14    A     Several, like the beginning of my
15 Q       So, you're just -- just had your           15   career, worked in various precincts in Queens.
16 thirty-eighth, thirty-seventh anniversary?         16    Q     When were you promoted to sergeant,
17 A       Thirty-seventh, yes.                       17   do you know that was?
18 Q       Congratulations.                           18    A     1989.
19 A       Thank you.                                 19    Q     Did you continue to serve in the
20 Q       I guess.                                   20   patrol function as a sergeant?
21        So, what is your present assignment,        21    A     I did.
22 Chief Tobin?                                       22    Q     How long did you do that in patrol?
23 A       I'm the commanding officer of              23    A     I was promoted to lieutenant in 1998.
24 collaborative policing.                            24    Q     Is it fair to say from 1989 to 1998
25 Q       Commanding officer of what?                25   you were a sergeant in the patrol division?
                                                                                             3 (Pages 6 - 9)
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                                                 Page 10                                                 Page 12
 1               TOBIN                                      1             TOBIN
 2     A     No. I worked in the press office. I            2   borough.
 3   had various assignments.                               3     Q     What functions were performed by the
 4     Q     When did you last work in the patrol           4   staff services section?
 5   division?                                              5     A     Policy analysis and anything having
 6     A     2002 as a captain, 2003.                       6   to do with applicant processing, the medical
 7     Q     So, you became a lieutenant in 1998,           7   division, recruitment and civilian employment.
 8   correct?                                               8     Q     How long did you -- how long did
 9     A Yes.                                               9   you -- how long were you the CO of the staff
10     Q     What was your assignment upon                 10   services section?
11   becoming a lieutenant?                                11     A     From the time I got there until 2014
12     A     I worked in the press officer and was         12   when I went to collaborative policing.
13   editor of the Spring 3100 magazine.                   13     Q     So, just so I understand, from 2004
14     Q     What magazine?                                14   until 2014, you were the CO of the staff
15     A     An internal department magazine.              15   services section?
16     Q     What is it called?                            16     A     Correct.
17     A     Spring 3100.                                  17     Q     The personnel division, correct?
18     Q     What does that mean, Spring 3100?             18     A Yes.
19     A     So, you remember when you used to             19     Q     Did you ever hold any position in the
20   have like you say Murray Hill 7, so Spring            20   police academy?
21   S-P-R was the first if you wanted                     21     A     No.
22   headquarters, so it got the name Spring 3100          22     Q     Did you ever hold any position in any
23   is the number people called when they needed          23   training --
24   police assistance.                                    24          MR. MOORE: Withdraw that.
25     Q     Good.                                         25     Q     Did you ever -- were you ever
                                                 Page 11                                                 Page 13
 1               TOBIN                                      1              TOBIN
 2          And you were promoted to captain at some        2   involved in developing training with respect
 3   point?                                                 3   to any activities in the police department?
 4    A      I was in September of 2002.                    4    A Yes.
 5    Q      What was your assignment upon being            5    Q     What was that?
 6   promoted to captain?                                   6    A     I worked on the CI, crisis
 7    A      Patrol in Manhattan South.                     7   intervention training, team training.
 8    Q      How long did you serve in that                 8    Q     CIT training?
 9   position?                                              9    A     Correct.
10    A      I was the XO in the 1st, the 10th and         10    Q     When did you start doing that?
11   the 13th Precincts and then I was brought into        11    A     In January of 2015, approximately.
12   work in personnel.                                    12    Q     What did your responsibilities
13    Q      In the personnel division of the              13   involve in that with regard to that?
14   police department?                                    14    A     Reviewing other jurisdiction's
15    A      Correct.                                      15   curriculum, looking at the curriculum that the
16    Q      When was that?                                16   NYPD had.
17    A      I believe it was December or January          17    Q     Anything else?
18   of 2004.                                              18    A     Not that I can think of.
19    Q      You say you were the XO on the 1st,           19    Q     So, as of January 2015, tell me what
20   the 10th and the 13th?                                20   your highest level of education was.
21    A      Precinct, correct.                            21    A PHD.
22    Q      What did you do in the personnel              22    Q     When did you get your PHD?
23   division?                                             23    A     2011.
24    A      I was the commanding officer of the           24    Q     From where?
25   staff services section of the personnel               25    A     State University Of New York at
                                                                                             4 (Pages 10 - 13)
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                                              Page 14                                                 Page 16
 1             TOBIN                                     1                TOBIN
 2   Albany.                                             2   policies with respect to emotionally disturbed
 3    Q     What was your PHD in?                        3   persons in the police department, it just was
 4    A     Criminal justice.                            4   implementing a different approach to dealing
 5    Q     Do you have any kind of a more               5   with it?
 6   particular focus than that or --                    6     A     Could you repeat that?
 7    A     No. That is the name of degree.              7     Q     Sure.
 8    Q     What did you -- did you do a thesis?         8         Is it fair to say that the CIT training
 9    A     I did.                                       9   didn't implement a new approach --
10    Q     What was your thesis on?                    10         MR. MOORE: Withdrawn.
11    A     Arming off-duty officers.                   11     Q     Didn't implement new policies with
12    Q     Arming off-duty officers?                   12   respect to emotionally disturbed persons, that
13    A Yes.                                            13   issue in the police department, it just
14    Q     Did any of your academic studies            14   changed the premise approach to it?
15   involve the police department's dealing with,      15     A     I think it supplemented what we --
16   so called, emotionally disturbed persons?          16   what we had, yeah.
17    A     No.                                         17     Q     Was there any revision of the policy
18    Q     So, in January of 2015 or                   18   with respect to EDP's at any time when you
19   thereabouts, you said you were assigned to         19   started working on the CIT training?
20   work on developing a CIT training, correct?        20     A     No.
21    A     Well, to look at other jurisdictions        21     Q     Was there anything, any incident, any
22   that had them, that had CIT training.              22   event in the City that you understood was the
23    Q     So, you were looking at what other          23   motivating force behind the change and
24   jurisdictions were doing, right?                   24   approach in working with CIT training?
25    A     Correct.                                    25     A     No.
                                              Page 15                                                 Page 17
 1                TOBIN                                  1              TOBIN
 2     Q     What was going on in the police             2     Q    So, tell me a little bit more about
 3   department at that point in January of 2015         3   what you were doing with respect to the CIT
 4   with respect to CIT training?                       4   training.
 5     A     Advocates of the -- in the field had        5     A    So, we visited several cities, and
 6   requested that we consider doing CIT training       6   when I say we, I am referring to our
 7   with the NYPD, within the NYPD.                     7   partnership with the department of mental
 8     Q     Is that to replace the training with        8   health and mental hygiene, DOHMH, and we went
 9   respect to emotionally disturbed persons or         9   to various cities and sat through, say, the
10   something in addition?                             10   Los Angeles Police Department's crisis
11     A     To supplement it.                          11   intervention team training program, which was
12     Q     Can you describe for me the                12   four days, and we looked at Houston and
13   difference between the training for ADP's and      13   Arizona, some of the cities in Arizona and
14   CIT training, if there is any difference?          14   Rochester.
15     A     In the crisis intervention team            15     Q    Rochester, New York?
16   training there is -- it's a much longer course     16     A    Yes. We didn't physically sit
17   than what officers receive as a matter of          17   through Rochester, but we -- there was a
18   course in their training, and it breaks down       18   person up there that was instrumental in New
19   different mental illnesses, tools that would       19   York State training.
20   be helpful in working with people with mental      20     Q    Who was that?
21   illness, as well as, developmental                 21     A    Dawn Kamen.
22   disabilities and then there is also a portion      22     Q    Dawn Kamen?
23   on self-care for officers.                         23     A    Uh-huh.
24     Q     So, is it fair to say that the crisis      24     Q    When you were developing the CIT
25   intervention training didn't change the            25   training, were you working -- at that point

                                                                                          5 (Pages 14 - 17)
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 1               TOBIN                              1              TOBIN
 2   what was the --                                2     A Yes.
 3          MR. MOORE: Withdraw that.               3     Q    -- New York Police Department, right?
 4     Q     When you were first starting to work   4     A Yes.
 5   on the CIT training --                         5     Q    At the time, who was the head of the
 6          MR. MOORE: Withdraw that.               6   training when you were looking at the CIT
 7     Q     Other than visiting those              7   stuff?
 8   jurisdictions and learning what they were      8     A    I believe it was Benjamin Tucker.
 9   doing, what else were you doing in terms of    9     Q    So, he was the head of the police
10   your involvement with the work on CIT         10   academy at the time?
11   training?                                     11     A    He was the head of the training
12     A     We met with professionals in the      12   borough.
13   field, Amy Watson in Chicago, who had written 13     Q    Training borough, so that would
14   several articles, as well as, Dr. Michael     14   oversee the police academy?
15   Compton, who had done a lot of work with CIT 15      A    Right.
16   in Atlanta.                                   16     Q    So, when you were developing this
17     Q     What was the first name, Amy?         17   approach to the CIT training that was
18     A     Watson.                               18   ultimately recommended --
19     Q     And what was the purpose of meeting   19         MR. MOORE: Withdraw that.
20   with them?                                    20     Q    You ultimately recommended, you, your
21     A     To see if it -- if they believe       21   group, recommended that the NYPD should get
22   through their research that it was a worth    22   involved in the CIT training, correct?
23   while venture.                                23     A    Correct.
24     Q     Other than the visiting of the        24     Q    So, in doing that, did you meet with
25   jurisdictions and meeting with other people,  25   members of the training division?
                                           Page 19                                             Page 21
 1             TOBIN                               1                TOBIN
 2 what else were you doing in terms of your       2      A Yes.
 3 duties at this time with regard to CIT          3      Q    How often did you meet with them and
 4 training?                                       4    what was the nature of the interactions?
 5 A       That was it.                            5      A    We looked at the training that was
 6 Q       Was there some recommendation that      6    currently provided to the emergency service
 7 was made at some point by you or your staff to  7    unit who gets the very in depth training in
 8 the police commissioner concerning CIT          8    terms of working with EDP's and looked at
 9 training?                                       9    modifying that curriculum for CIT.
10 A Yes.                                         10      Q    What else, anything else?
11 Q       How was that recommendation conveyed,  11      A    That was mainly the focus.
12 was it in writing, was it orally or what?      12      Q    Was there any change at this point, a
13 A       I believe it was the Deputy            13    recommended change, in the training that
14 Commissioner Suzanne Herman had a conversation 14    officers generally receive with regard to
15 with Police Commissioner Bill Braden at the    15    EDP's?
16 time.                                          16      A    Not in terms of what they currently
17 Q       Did you prepare any written materials  17    receive. This was to enhance by establishing
18 for the police -- for the deputy commissioner  18    CIT training.
19 or for the police commissioner summarizing     19      Q    So, in terms of the policy that
20 what you had been doing with respect to CIT    20    existed at the time in 2015, with respect to
21 training pertaining to any recommendations?    21    EDP's, I mean, the policy of New York City
22 A       I didn't, but I believe possibly       22    Police Department, that didn't change what
23 training did.                                  23    changed was supplementing this with CIT
24 Q       So, when you say training, you mean    24    training, correct?
25 the training division of the --                25      A    Correct.
                                                                                    6 (Pages 18 - 21)
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                                            Page 22                                                Page 24
 1              TOBIN                                  1               TOBIN
 2        MR. LAX: The witness has a                   2     Q     You are not talking about recruit
 3 clarification she wants to make in response to      3   training, you are talking in service training
 4 the last question.                                  4   for officers around the force, right?
 5 A       So, this was in responding to 911           5     A Yes.
 6 calls.                                              6     Q     In control training?
 7 Q       When you say this was, what do you          7     A     In Operational command.
 8 mean?                                               8     Q     Okay, when you say operational
 9 A       The CIT training, when officers on          9   command, what do you mean?
10 patrol were responding to 911 calls                10     A     Housing and transit as well.
11 regarding --                                       11     Q     Would that include anticrime units?
12 Q       Does -- does -- go ahead.                  12     A Yes.
13 A       Regarding emotionally disturbed            13     Q     Would it include officers or
14 persons.                                           14   individuals assigned to the detective
15 Q       Did the CIT training only focus on         15   division?
16 responding to 911 calls?                           16     A     No.
17 A       It was to supplement the training the      17     Q     So, is there -- at -- currently the
18 officers get when responding to 911 calls and      18   CIT training is not being given to members of
19 pick-up jobs.                                      19   the detective division, correct?
20 Q       Is that still the case, the CIT            20     A     Correct.
21 crisis intervention teams are only activated       21     Q     And it hasn't been, since -- that has
22 in response to 911 calls?                          22   been the case since January 2015, it hasn't
23        MR. LAX: Objection. You can answer.         23   been given to them, correct?
24 A       You are saying teams, this is people       24     A     Correct.
25 on patrol.                                         25     Q     Did you ever in your time in the
                                            Page 23                                                Page 25
 1             TOBIN                                   1              TOBIN
 2 Q       I am just trying to understand your         2   police department work on developing
 3 clarification.                                      3   curriculum for how the police department
 4 A       Uh-huh.                                     4   should respond to EDP's?
 5        MR. MOORE: Maybe you can read her            5     A No.
 6 clarification back to me.                           6     Q    Did you ever teach any courses in the
 7        (The record was read back by the             7   company or either for recruits or in-service
 8 reporter.)                                          8   with regard to how the -- how police officers
 9    Thank you.                                       9   should respond to EDP's?
10 Q       What --                                    10     A    No.
11        MR. MOORE: Withdraw that.                   11     Q    Whose currently the head of the
12 Q       Was there a retraining of all patrol       12   police academy?
13 officers concerning the CIT training at some       13     A    Theresa Shoretel is the assistant
14 point?                                             14   chief in charge of the training borough and
15 A       No.                                        15   Frederick Glover is the commanding officer of
16 Q       Has that ever been done since you          16   the police academy.
17 implemented CIT training?                          17     Q    So Theresa Shoretel is the deputy
18 A       We are in the process of training          18   commissioner for training?
19 officers, which has continued. The class size      19     A    No. She's the chief of training.
20 for CIT training is thirty at a max, so we've      20     Q    Chief of training, I get the titles
21 increased it from one tour to three tours per      21   all mixed up.
22 week.                                              22     A    No, it was -- it was -- they moved it
23 Q       Do you do the training at the police       23   from a civilian position to a bureau. There
24 academy?                                           24   is no deputy commissioner, which Benjamin
25 A       Correct, yes.                              25   Tucker was in 2014.
                                                                                       7 (Pages 22 - 25)
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                                           Page 26                                               Page 28
 1              TOBIN                                 1                TOBIN
 2 Q       What is Theresa Shoretel's rank?           2   the reports have changed to less lethal
 3 A       She's a bureau chief.                      3   request -- there are two different reports.
 4 Q       She's a three star?                        4   It appears that one of them is no longer
 5 A       Three star, yep.                           5   utilized in the 2013 procedure.
 6 Q       I am going to hand you some patrol         6     Q     Which one is that?
 7 guide provisions.                                  7     A     It looks like the taser/stun device
 8        MR. MOORE: Can you mark this as             8   report is now called the use of conducted
 9 Tobin Deposition Exhibit Number 1 and this as      9   energy device, CED.
10 Tobin Deposition Number 2.                        10     Q     Is that the only change you can see?
11        (Documents marked as Tobin Exhibits 1      11     A     I haven't gone line-by-line.
12 and 2 for Identification, as of this date.)       12     Q     Let me ask you before you -- you
13 Q       Let's look at Tobin Exhibit Number 2      13   agree with me that the numbered paragraphs of
14 first. To your knowledge, is this the current     14   the patrol guide are the same as it was in
15 patrol guide provisions with respect to           15   2000 to 2013, right?
16 mentally ill or emotionally disturbed persons?    16     A     They have -- they both have, I
17        (Exhibit handed to witness.)               17   believe, thirty-two steps.
18 A       I think it's actually -- yes, it is.      18     Q     Right.
19 Q       We are talking about Exhibit Number       19     A     Whether they are the same or changed,
20 2, right?                                         20   I don't know.
21 A Yes.                                            21     Q     We won't go through each one, but so
22 Q       Dated 11/28/18, correct?                  22   at least there were thirty-two paragraphs in
23 A       Correct.                                  23   the old policy and thirty-two numbered
24 Q       Look at Tobin Exhibit Number 1. This      24   paragraphs in the new policy, correct?
25 is a patrol guide provision for the same          25     A     Correct.
                                           Page 27                                               Page 29
 1             TOBIN                              1                  TOBIN
 2 subject matter dated on August 1, 2013,        2         Q    What appears to have been changed is
 3 correct?                                       3       the language has been either added or removed
 4       (Exhibit handed to witness.)             4       from the section that begins additional data,
 5 A       Correct.                               5       correct?
 6 Q       To your knowledge, is this the patrol  6         A    Right.
 7 guide provision with respect to mentally ill   7         Q    But the current policy -- not the
 8 or emotionally disturbed persons that was in   8       current policy, the policy that would have
 9 effect in April of 2015?                       9       been in effect in January -- in April of 2015
10 A Yes.                                        10       would be contained in Tobin Exhibit Number 1,
11       MR. MOORE: Please mark this as          11       correct?
12 Number 3.                                     12         A    That's correct.
13       (Document marked as Tobin Exhibit 3 for 13         Q    So, in the period of time from 2000
14 Identification, as of this date.)             14       until 2013, the policy with respect to how
15 Q       I am handing you what has been marked 15       officers should deal with people who have
16 as Tobin Exhibit Number 3.                    16       mentally ill or emotional problems the policy
17       Can you identify this document?         17       hasn't changed, right?
18       (Exhibit handed to witness.)            18         A    Since when?
19 A       This is patrol guide procedure in     19         Q    Between 2000 to 2013, there was no
20 effect as of January 1st of 2000.             20       change in the policy, I am not talking about
21 Q       Do you know how the policy, the       21       how it was implemented, I am talking about
22 police department policy, with respect to     22       whether the policy set forth in the patrol
23 mentally ill or mentally disturbed persons    23       guide had changed?
24 changed from January 2000 to August 2013?     24         A    It had to. If there is two different
25 A       Well, it should be -- it appears that 25       patrol guides, one is revised.
                                                                                      8 (Pages 26 - 29)
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                                              Page 30                                                  Page 32
 1               TOBIN                                   1               TOBIN
 2     Q     The one is revised with respect to          2   you know back in 1992 or 1994 what the
 3   about the policy contained and the number of        3   training was that police officers received
 4   paragraphs hasn't changed, correct?                 4   with respect to EDP's?
 5     A     I haven't gone through them, so, but        5     A     I know it was given to recruit
 6   there had to be some change in policy if we         6   training. I think it was also given to people
 7   have a new patrol guide revision.                   7   promoted during that time.
 8     Q     Well, is it fair -- well, you can           8     Q     When you say --
 9   have a new patrol guide that has additional         9     A     In collaboration with John Jay, I
10   materials at the end of the numbered               10   think they got a day of training with them.
11   paragraphs but still the number of paragraphs      11     Q     When you say people promoted, you
12   would be the same?                                 12   mean --
13     A     Which appears to be the case here,         13     A     Going from police officer to sergeant
14   but it doesn't mean the policy hasn't changed      14   and I'm not sure it was sergeant to
15   if there is more information and additional        15   lieutenant.
16   data.                                              16     Q     What about going from police officer
17     Q     The new information may be generic         17   to detective division?
18   described as policy it had changed in that         18     A     No.
19   respect, right?                                    19     Q     Do you know what the extent of the
20     A     Say that again, please.                    20   training was in the academy at that time with
21     Q     So, what you are suggesting is that        21   respect to EDP's, and let's talk about, was it
22   to the extent there is additional information      22   a half day, a class, was it a whole day?
23   contained in the 2013 policy as compared to        23     A     That I don't know. I mean, that is
24   the 2000 policy, those additional changes you      24   very specific with training. I think it was
25   would describe as a change in policy, correct?     25   also a thread through various topics, so let's
                                              Page 31                                                  Page 33
 1                TOBIN                             1                    TOBIN
 2     A     Correct.                               2        say police communications and it would be
 3     Q     So, between 2000 and 2015, can you     3        communicating with X, Y and Z, which would
 4   tell me if you know how the training provided  4        have included emotionally disturbed.
 5   to police officers has changed, if at all,     5          Q    After leaving the academy in the
 6   with regard to mentally or emotionally         6        middle '90's, when would an officer who wasn't
 7   disturbed persons?                             7        promoted have received any kind of additional
 8     A     I think the change that took place     8        training with respect to EDP's?
 9   between 2000 and 2013 had to do with the stun 9           A    After the mid-'90's?
10   gun, that appears to be the difference in the 10          Q Yes.
11   policy.                                       11          A    If they were part of CIT training,
12     Q     Or the -- what do they call it        12        I'm not sure. There may have been a component
13   conductive?                                   13        of command level training in which officers
14     A     Energy device, CED.                   14        received roll call training or in tact
15     Q     So, other than with respect to the    15        training. I don't know what the subject of
16   use of the stun gun, can you tell me whether  16        those were.
17   the training with respect to the stun gun can 17          Q    CIT training didn't begin until 2015,
18   you tell me whether in any other respect the  18        right?
19   training with respect to EDP's has changed    19          A    That's correct.
20   from 2000 to 2015 that you are aware of?      20          Q    So, from the mid-'90's until 2015 for
21     A     Not to my knowledge, but I'm not in   21        an officer who wasn't promoted or an officer
22   training.                                     22        who was promoted into the detective division,
23         MR. MOORE: Let's take a short break. 23           there would have been no additional training
24         (RECESS)                                24        on EDP's, correct?
25     Q     So, Chief Tobin, can you tell me if   25          A    No. I don't know that because we
                                                                                           9 (Pages 30 - 33)
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                                               Page 34                                                 Page 36
 1              TOBIN                              1                      TOBIN
 2 have -- there was in tact training and I don't  2           A     For this time period?
 3 know what those topics covered from the         3           Q Yes.
 4 mid-'90's through 2015.                         4           A     Yes, and I believe that it has
 5 Q       Are you generally aware that in         5          significantly increased.
 6 tact -- in tact is like in-service training,    6           Q     So, when you say significantly
 7 right?                                          7          increased, what do you mean?
 8 A       Correct.                                8           A     I think the last number that was
 9 Q       Are you generally aware that EDP's      9          given, I don't know -- for 2018 might be as
10 was a subject matter covered by in tact        10          high as a hundred and eighty-one thousand
11 training?                                      11          calls.
12 A       I'm not sure.                          12           Q     In terms of just the perspective,
13 Q       So, you have no knowledge one way or 13            what percentage of police officer's work
14 the other as you sit here today, correct?      14          generally would be involved with people in
15 A       Correct.                               15          mental crisis?
16        MR. MOORE: Why don't you mark this 16                A     I think it's less then four percent.
17 as Exhibit 4.                                  17           Q     How much?
18        (Document marked as Tobin Exhibit 4 for 18           A     Less then four.
19 Identification, as of this date.)              19           Q     Less then four percent?
20 Q       I handed you what has been marked as 20             A     Of calls.
21 Tobin Exhibit 4.                               21           Q     Of calls, right. But still a hundred
22        Can you identify this document?         22          and eighty thousand calls is a large number,
23        (Exhibit handed to witness.)            23          correct?
24 A       It's entitled Putting Training Into    24           A     It is, but I think we respond to four
25 Practice A Review Of NYPD's Approach To        25          million and the hundred and eighty-one
                                               Page 35                                                 Page 37
 1                TOBIN                                   1                TOBIN
 2   Handling Interactions With People In Mental          2   thousand doesn't mean that those were calls
 3   Crisis.                                              3   that officers respond to. I'm not sure, but I
 4     Q     Have you seen this document before?          4   know that of the calls received at 911 for
 5     A     I have.                                      5   this job classification, it's less then four
 6     Q     When is the last time you looked at          6   percent or just about four percent.
 7   it?                                                  7    Q      Is there -- are those statistics
 8     A     Probably when it came out in 2017.           8   available somewhere?
 9     Q     Did you look at it in preparation for        9    A      I just know because I asked
10   today's deposition by any chance?                   10   communications for them.
11     A     I did not.                                  11    Q      Setting aside the number of calls, do
12     Q     If you turn to the first page of this       12   you know how many encounters officers engage
13   document, which is -- I guess it is not Bates       13   in on a yearly basis that involve emotionally
14   stamped, but it was attached to the summary         14   disturbed persons?
15   judgment motion?                                    15    A      Off the top of my head, I don't.
16          MS. DROUBI: And the complaint.               16    Q      So, other than the CIT training, has
17     Q     And the complaint too great.                17   there been any revision that you know of in
18          If you look at Page 1, you see on the        18   the policy with respect to how police officers
19   bottom of the page it lists -- it refers to some    19   are to respond to EDP's as we sit here today?
20   statistics in the number of EDP calls the           20    A      I believe so. There was a new
21   department receives every year?                     21   revision that came out to the patrol guide.
22     A Yes.                                            22    Q      In 2018?
23     Q     I know you may not know exactly what        23    A Yes.
24   the numbers are, but is that generally              24    Q      How has that changed?
25   accurate as far as you understand?                  25    A      Without going through the thirty-two
                                                                                          10 (Pages 34 - 37)
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                                            Page 38                                            Page 40
 1                TOBIN                              1             TOBIN
 2   steps, I think it mostly had to do with         2 also knew that he had engaged in an act of
 3   technology, now that we all have the smart      3 violence against the person he had robbed at
 4   phones.                                         4 least twice before they responded to the
 5     Q     Body one cameras?                       5 scene?
 6     A     Body one cameras, that type of          6        MR. LAX: Objection. You can answer,
 7   information.                                    7 if you understand.
 8     Q     So, can you just summarize, for me      8 A       That was part of the robbery, that he
 9   without referring to the documents, Chief       9 forcibly took someone's property and that he
10   Tobin, how officers are trained with respect   10 was violent.
11   to dealing with EDP's, what general principals 11 Q       He physically harmed them?
12   are supposed to apply?                         12 A Yes.
13     A     When they encounter someone who is a 13 Q         You were aware of that too, right?
14   danger to themself or others, they should      14 A Yes.
15   isolate and contain, and request a patrol      15 Q       And were you aware that the -- do you
16   supervisor, and an emergency service unit.     16 understand in this case that these officers
17     Q     Anything else, any other general       17 responded to a facility called The Bridge?
18   principals that you can think of?              18 A Yes.
19     A     Just ensure their safety and the       19 Q       Are you aware that The Bridge is a
20   person's safety as much as possible.           20 facility that houses a residential facility
21     Q     Is it important for officers to        21 for people with mental health issues?
22   develop as much information as they can about 22 A Yes.
23   the incident from the beginning?               23 Q       Are you aware that when they
24     A     When they're responding to a 911       24 responded to that facility and were buzzed in
25   call?                                          25 they talked to a security person at the desk
                                            Page 39                                            Page 41
 1               TOBIN                              1               TOBIN
 2     Q     Well, when they're responding to       2   there and that person gave them some
 3   somebody who may present with emotional        3   information about Mr. Felix, are you aware of
 4   issues?                                        4   that?
 5     A Yes.                                       5    A      I believe the information they gave
 6     Q     I mean, that's just basic good police  6   was that they didn't know whether he was home
 7   work?                                          7   or not.
 8     A     Common sense, yeah.                    8    Q      Do you recall that -- do you
 9     Q     I know it is kind of a simple          9   understand in this case that the person who
10   question.                                     10   works at The Bridge indicated to these
11     A     Okay.                                 11   officers that he had a diagnosis as a paranoid
12     Q     Are you aware of the facts of this    12   schizophrenic?
13   case?                                         13    A      They were told that?
14     A     Somewhat.                             14    Q Yes.
15     Q     You're aware, are you not, that two   15    A      Okay.
16   detectives, Detective Matias and Detective    16    Q      Do you know that?
17   Carter in April of 2015 went to a location in 17    A      Not for a fact, but okay.
18   the East Village to try to arrest the         18    Q      Were you aware that they advised --
19   plaintiff, David Felix, right?                19   that the person who worked for The Bridge had
20     A Yes.                                      20   advised these officers that he took a
21     Q     Do you know what information they had 21   medication called Abilify?
22   in their possession before they went there?   22         MR. LAX: Objection. You can answer.
23     A     I believe that they knew he was       23    A      I believe it is one of the officer's
24   wanted for, I believe, a robbery.             24   testimony.
25     Q     Right. And were you aware that they   25    Q      Yeah.
                                                                                  11 (Pages 38 - 41)
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                                               Page 42                                                Page 44
 1               TOBIN                                    1             TOBIN
 2    A      Okay, yeah.                                  2    A No.
 3    Q      So, you are aware of that fact too,          3    Q      Why not?
 4   correct?                                             4    A      Because they had not located him to
 5    A Yes.                                              5   see if his diagnosis was evident.
 6    Q      Were you aware that the officers were        6    Q      But they didn't know whether he was
 7   shown a log which would have indicated whether       7   in the apartment or not?
 8   Mr. Felix had taken his medication?                  8    A      Right.
 9          MR. LAX: Objection. You can answer.           9    Q      So, but they then were able to get
10    A      I don't recall seeing that, no.             10   the building to let them in the apartment,
11    Q      So, based upon your -- on your              11   correct?
12   understanding of the NYPD's policies and            12         MR. LAX: Objection.
13   practices with respect to EDP's, what should        13    Q      Were you aware of that fact?
14   the officers have done in this circumstance         14         MR. LAX: Objection.
15   who they were on -- they were looking for           15    A      I think it was a statement of the
16   somebody who had committed a violent felony,        16   officers that they did.
17   had assaulted somebody, they come to a              17    Q      Yeah, so with that, in your judgment
18   facility that's a residential facility for          18   in terms of dealing with somebody who has
19   people with mental health issues, they learn        19   emotional, mental health issues, was that a
20   that he was -- he had a diagnosis as a              20   proper police practice to go into the
21   paranoid schizophrenic and they learned he was      21   apartment not knowing whether he was there or
22   on a medication called Abilify, and they had        22   not?
23   made efforts to contact him, and they were          23         MR. LAX: Objection. You can answer.
24   unsuccessful, so they didn't really know if he      24    A Yes.
25   was there or not, what should they have done        25    Q      That was proper?
                                               Page 43                                                Page 45
 1               TOBIN                               1                     TOBIN
 2   in that circumstance?                           2         A Yes.
 3         MR. LAX: Objection. You can answer.       3         Q      At what point would the procedures
 4    A      Pursue whether he was at the            4        with respect to dealing with an emotional
 5   location.                                       5        disturbed person have been triggered in this
 6    Q      I am sorry.                             6        circumstance?
 7    A      Pursue whether he was at the            7         A      If they had seen the person they were
 8   location.                                       8        looking for displaying behavior that would
 9    Q      So, what -- should there have been      9        have been harmful to himself or others.
10   anything they should have done considering     10         Q      So, if they knew he was in the
11   what they learned about his mental health      11        apartment and they knew that he had this
12   condition?                                     12        condition and he was taking medication, he had
13    A      No.                                    13        engaged in some violent felonies just a couple
14    Q      Why not?                               14        of days earlier, is it your testimony that the
15    A      Because they didn't know whether he    15        NYPD policy and practice under the current --
16   was there and whether that condition was being 16        the then current NYPD practice, it would have
17   manifested.                                    17        been okay for them to go into his apartment?
18    Q      Well, they knew what the diagnosis     18         A      Correct.
19   was, they knew he was taking a medication and 19          Q      Even though going into the apartment
20   arguably they knew he hadn't taken his         20        might have triggered some unusual conduct on
21   medication because he hadn't been there for    21        his part?
22   two days, so under those circumstances,        22              MR. LAX: Objection. You can answer.
23   shouldn't they have been required to call a    23         A      I don't know if they would have known
24   supervisor and call a bus?                     24        that without entering the apartment. They
25         MR. LAX: Objection. You can answer. 25             didn't even know if he was there, is my
                                                                                         12 (Pages 42 - 45)
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                                              Page 46                                              Page 48
 1            TOBIN                                      1             TOBIN
 2 understanding.                                        2 he had a diagnosis as a paranoid schizophrenic
 3 Q       Right, but the question is, it is             3 and they knew he was taking a medication to
 4 really judgment, I guess I'm asking you as a          4 treat that, and they may or may not have
 5 matter of policy and practice to make a               5 known, it is unclear, but they certainly saw
 6 judgment about whether the officers acted             6 the book showing whether he had taken his
 7 properly by going into his apartment knowing          7 medication or not, under that set of
 8 what they knew about him, not knowing whether         8 circumstances, you are saying it was proper
 9 he was there or not, but if he was there that         9 for the officers to go ahead and break into
10 might have provoked a dramatic and fatal             10 the apartment and not wait for a sergeant or
11 confrontation right at the spot, it is your          11 ESU to come to the scene?
12 testimony that would be proper?                      12        MR. LAX: Objection. You can answer.
13       MR. LAX: Objection. You can answer.            13 A       Okay. Can I just pause here. I'm
14 A Yes.                                               14 not understanding what the objections are and
15 Q       Do you know that the officers or were        15 then answer.
16 investigated by the police department for this       16        MR. LAX: Sorry, I am objecting to
17 shooting that occurred?                              17 form, but you still have to answer.
18 A       Do I know that the police                    18 Q       Unless he directs you not to answer,
19 department --                                        19 you have to go ahead and answer.
20       MR. MOORE: Withdraw that. Withdraw             20        MR. LAX: Sorry about that.
21 that.                                                21 Q       I should have explained that to you
22 Q       You know at some point shortly after         22 too, so I apologize.
23 they went into his apartment and they                23 A       I am not sure the facts as you are
24 confronted him down in the lobby that                24 laying them out are true.
25 Mr. Felix was shot and killed by one of the          25 Q       In that set of facts, though, are you
                                              Page 47                                              Page 49
 1               TOBIN                                   1             TOBIN
 2   officers, correct?                                  2 saying --
 3    A Yes.                                             3 A       I don't think they broke into the
 4    Q     Are you aware that an investigation          4 apartment, is my understanding, but they went
 5   was done of that shooting?                          5 up to his room.
 6    A     I'm aware that we investigate every          6 Q       Change it to they were able to get
 7   police shooting, so I'm assuming, yes.              7 into his apartment. Under that set of facts,
 8    Q     Do you know whether as a result of           8 you are saying based upon your understanding
 9   that investigation the officers were ordered        9 of the policy and practice of the police
10   to be retrained?                                   10 department, it was proper for them to have
11    A     I don't.                                    11 done that and not have called a supervisor or
12    Q     Can you think of any reason why they        12 called ESU?
13   would be asked -- they would be ordered to be      13 A       Correct.
14   retrained?                                         14 Q       That is based on what?
15         MR. LAX: Objection. You can answer.          15 A       Our current policy.
16    A     I don't.                                    16 Q       Your understanding of the policy and
17    Q     So, as a matter of policy and               17 practice?
18   practice from the perspective of the police        18 A       Correct.
19   department, and you are speaking for the           19        MR. MOORE: Let me take a short
20   police department now, it is your testimony        20 break.
21   that knowing those facts that I laid out, that     21        (RECESS)
22   Mr. Felix had engaged in a robbery and a           22    Please mark this.
23   violent assault of somebody just a couple of       23        (Document marked as Tobin Exhibit 5 for
24   days earlier, that he was living in a mental       24 Identification, as of this date.)
25   health facility, that he was -- that they knew     25 Q       Chief, I am handing you what has been
                                                                                       13 (Pages 46 - 49)
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